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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 G&G CLOSED CIRCUIT EVENTS, LLC,                              :
                                              Plaintiff,      :
                                                              :   20 Civ. 5077 (LGS)
                            -against-                         :
                                                              :        ORDER
 GUARDADO GARCIA, et al.,                                     :
                                              Defendants, :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, an order to show cause for default judgment hearing was held on October

15, 2020;

        WHEREAS, Defendant Restaurante La Libertad Corp appeared and requested an

automatic stay of the case due to a pending bankruptcy proceeding;

        WHEREAS, Defendant Theresa D. Guardado Garcia appeared and argued that she had

sold the restaurant at issue in this case; it is hereby

        ORDERED that, by October 22, 2020, the parties shall file a joint letter explaining each

parties’ positions and proposed next steps for this case.


Dated: October 15, 2020
       New York, New York
